               IN THE DISTRICT COURT OF THE LINITED STATES
                    FOR THE DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION

UNITED STATES oII AMERICA                   )      CR. NO.         2:21-cr-696
                                            )
                                            )
               \.S                          )              1  u.s.c. $22s2A(a)(s)(B)
                                                               8
                                            )              18 u.s.c. s22s2A(b)(2)
                                            )              r8 u.s.c. $22s3
                                            )              28 U.S.C. $2461(c)
                                            )
                                            )
DEVEN LEWIS VANDENEYNDE                     )      INFORMATION


                                    COLINT ONE
              (Possession of Child Pomography Involving a Prepubescent Minor)

THE ACTING UNITED STATES ATTORNEY CHARGES:

       That on or about February 6, 2020, in the District of South Carolina, the defendant,

DEVEN LEWIS VANDENEYNDE, did knowingly               possess materials that contained images      of

child pomography, as defined in Title 18, United States Code, Section 2256(8), that involved a

prepubescent minor, that had been mailed, shipped and transported          in interstate and foreign
commerce by any means, including by computer, and that were produced using materials that had

been mailed, shipped and transported in interstate and foreign commerce by any means, including

by compute

       In violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and 2252A(b)(2).
                                         FORFEIlURE

CHILD PORNOGRAPHY:
       Upon conviction for violation of Title 18, United States Code, Section 2252A,                 as


 charged in this Information, the Det'endant. DEVEN LEWIS VANDENEYNDE, shall fbrfeit

 to the United States his interest in:


                         any visual depiction described in section 2251, 2251A,2252, or
                         2252A of chapter 110 of the United States Code, or any book.
                         magazine, periodical, film, videotape, or other matter which
                         contains any such visual depiction, which was produced,
                         transported, mailed. shipped or received in violation ofchapter I l0
                         of the United States Code:

                    ii. any property, real or personal, constituting or traceable to gross
                         profits or other proceeds obtained from such offenses; and

                  iii.   any property, real or personal, used or intended to be used to commit
                         or to promote the commission of such offenses.



PROPERTY:

       Pursuant to Title 18, United States Code, Section 2253 and Title 28, United States Code,

Section 2461(c), the property which is subject to forfeiture upon conviction ofthe Defendant for

the offense charged in this Information includes. but is not limited to, the following:


               A.        CashProceeds/ForfeitureJudgment:

                         A sum of money equal to all     proceeds the Defendant obtained, directly or
                         indirectly, from the offenses charged in this Information, and all interest and
                         proceeds traceable thereto, and/or such sum that equals all property derived
                         from or traceable to his violation of Title I 8.




                                                    )
                B        Electronic Equipment:

                         Apple iPhone 6 S,N: DNQNSFFAG5MC


SUBSTITUTE ASSETS:


        Ifany ofthe property described above,    as a result   ofany act or omission ofthe Defendant:

                       a.       cannot be located upon the exercise ofdue diligence;
                       b.       has been transferred or sold to, or deposited with, a third partyl
                       c.       has been placed beyond thejurisdiction ofthe court;
                       d.       has been substantially diminished in value; or
                                has been commingled with other property which cannot be divided
                                without dilficulty,


it is the intent ofthe United States, pursuant to Title 2l , United States Code, Section 853(p) to seek

forfeiture of any other property of the Defendant up to an amount equivalent to the value of the

above-described lorfeitable property;


       All   pursuant to Title 18, United States Code, Section 2253       afi   Title 28, United   States

Code, Section 2461(c).




M. RHETT DEHART (dhs)
ACTING LNITED STATES ATTORNEY




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